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                       EXHIBIT F
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                                       October 31, 2023
Stephen P. McNamara
St. Onge IP
986 Bedford Street
Stamford, CT 06905-5619
Via Email: smcnamara@ssjr.com

       RE:    Re: Unauthorized Use of Aspen Skiing Company’s Intellectual Property

Dear Mr. McNamara:

        This firm represents Aspen Skiing Company (“ASC”) in trademark matters. I write to
follow up on the correspondence we exchanged in 2021 regarding unauthorized use of ASC’s
intellectual property by your client, Perfect Moment (UK) Limited (“Perfect Moment”). As you
know, after that exchange, Perfect Moment removed from its social media accounts several
images that infringed ASC’s rights by using ASC trademarks and other intellectual property
without permission. You also represented that Perfect Moment would not use ASC’s
intellectual property in the future.

        In light of this background, ASC was surprised to learn that Perfect Moment has, again,
infringed ASC’s rights by advertising and selling products bearing an image of ASC’s property.
Specifically, ASC hosts a well-known event under the brand ASPENX BEACH CLUB:




(See, e.g., https://aspenx.com/collections/aspenx-beach-club.)
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       Perfect Moment is using at least one photo of the ASPENX BEACH CLUB event to
advertise its goods, and is selling multiple goods bearing the image of the ASPENX BEACH CLUB
event:




       (See, e.g., https://www.instagram.com/p/Cy3w8JTPipy/.)




(See, e.g., https://www.instagram.com/dedejohnstondesign/;
https://www.perfectmoment.com/en-us/p/pm-x-dede-johnston-thermal-half-zip/sky-blue.)

        Perfect Moment’s advertising and goods very clearly depict ASC’s property and its
ASPENX BEACH CLUB event, creating a false association with ASC. As you know from our prior
correspondence, a claim for false association under 15 U.S.C. § 1125 does not require that the
defendant use a registered mark, or even use any traditional trademark, in order for liability to
exist. Rather, § 1125 imposes liability for any misrepresentation as to affiliation, connection, or
association with another party. Significantly, § 1125 does not require that the plaintiff possess
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or have used a “trademark” as an element of the cause of action; the defendant’s false or
misleading suggestion of affiliation creates liability. Therefore, photos of ASC’s property,
including photos of readily-identifiable elements such as the distinctive red-and-white trade
dress used at the event, violate § 1125. To the target customers – skiers – the location and the
event are readily-identifiable as affiliated with ASC.

        In addition, and once again, Perfect Moment’s use of U.S. Forest Service land for
commercial activities violates U.S. Forest Service regulations and the enabling statutes. Only
parties with a Special Use Permit are permitted to conduct commercial activities on U.S. Forest
Service land. ASC holds a Special Use Permit for its four ski areas and is the only party
permitted to conduct commercial activities on those properties. Heath v. Aspen Skiing
Corporation, 325 F. Supp. 223 (D. Colo. 1971).

        ASC demands that Perfect Moment confirm in writing that it will immediately:

        (1) Remove from all social media, websites, and other advertising media any photo of or
            other reference to the ASPENX BEACH CLUB event;

        (2) cease all sale, offering for sale, and advertising or promotion of goods bearing any
            photo of or other reference to the ASPENX BEACH CLUB event;

        (3) cease any and all other activities that use ASC’s trademarks or create a false
            association with ASC; and

        (4) cease all commercial photography at ASC’s four ski areas.

        Given the importance of this matter, we request a written response confirming Perfect
Moment’s agreement within 10 business days of the date of this letter. Should Perfect
Moment fail to do so, ASC reserves all rights to pursue any available legal remedies without
further correspondence or other warning. This letter is not intended to be a comprehensive
statement of ASC’s causes of action or damages, all of which are reserved. If you wish to
discuss this matter by phone, please call.


                                                       Sincerely,




                                                       Ian L. Saffer
IS:vf
